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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )
                                             )
             vs.                             )                 8:11CR312
                                             )
JASON BRASCH,                                )                  ORDER
DAVID BURBACH,                               )
WILLIAM WILKINSON and                        )
THERESA REILLY,                              )
                                             )
                    Defendants.              )


      The government’s Motion to Continue (Filing No. 8) is granted.
      IT IS ORDERED that the initial appearance is continued to October 28, 2011, at
2:00 p.m., before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
      The United States Attorney’s Office shall notify all the defendants or their counsel
of record of the change of date.
      DATED this 7th day of October, 2011.


                                           BY THE COURT:
                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
